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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                4:03CR3014
                                           )
             V.                            )
                                           )
HA T.T. NGUYEN,                            )                   ORDER
                                           )
                    Defendant.             )

      IT IS ORDERED that the defendant’s motion to set aside the 28 U.S.C. § 2255 habeas
corpus judgment pursuant to Rule 60(b)(4) and (6) is denied.

      DATED this 28th day of July, 2009.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
